                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                     AT KNOXVILLE
                                                                                      2020 FEB I 9 P 7= I 8
 UNITED STATES OF AMERICA                            )
                                                     )          3:20-CR-_Jj_
                V.                                   )
                                                     )          JUDGES     \la((uV\
 ANKUR KHEMANI                                       )
 GA URAV BHASIN                                      )          (SEALED)
 MARILYN STERK                                       )
 JENNIFER STERK                                      )
 TERESA STERK V ANBAALE                              )


                              MOTION TO SEAL INDICTMENT

        The United States of America, by and through its counsel, Frank M. Dale, Jr., Assistant

United States Attorney for the Eastern District of Tennessee, hereby moves the Court for entry of

 an order sealing the indictment in this matter. All of the defendants are not in custody. The

United States seeks arrest warrants authorizing the arrest of the defendants. So as not to alert the

defendants in advance of their pending arrests, it is respectfully requested that the court seal the

indictment and this case until such time as the defendants are arrested and this court orders the

indictment and case unsealed.

                                                         Respectfully submitted,

                                                         J. DOUGLAS OVERBEY
                                                         UNITED STATES ATTORNEY


                                               By:




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